Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 1of13

6:21-cv-00240

EXHIBIT A
NTR AAT

a2) United States Patent

Rothschild

va

US009300723B2
(10) Patent No.: US 9,300,723 B2
(45) Date of Patent: *Mar. 29, 2016

(54)

(75)

(73)

(*)

(21)
(22)

(65)

(63)

(51)

(52)

(58)

ENABLING SOCIAL INTERACTIVE
WIRELESS COMMUNICATIONS

Inventor: Leigh M. Rothschild, Sunny Isles
Beach, FL (US)

Assignee: Display Technologies, LLC, Plano, TX
(US)

Notice: Subject to any disclaimer, the term of this

patent is extended or adjusted under 35
U.S.C. 154(b) by 398 days.

This patent is subject to a terminal dis-
claimer.

Appl. No.: 13/494,097

Filed: Jun. 12, 2012
Prior Publication Data
US 2012/0254360 Al Oct. 4, 2012

Related U.S. Application Data

Continuation-in-part of application No. 11/999,570,
filed on Dec. 7, 2007, now Pat. No. 8,671,195.

Int. Cl.

G06F 15/16 (2006.01)

HO4L 29/08 (2006.01)

HO4L 29/06 (2006.01)

HO4W 12/08 (2009.01)

US. Cl.

CPC oe HOAL 67/06 (2013.01); HO4L 63/0209

(2013.01); HO4L 63/10 (2013.01); HO4E 63/20
(2013.01); HO4W 12/08 (2013.01)
Field of Classification Search

CPC ..... HO4L 63/00; HO4L 63/0209; HO4L 63/10;
HO4L 67/06; HO4L 65/1069; HO4L 67/14;
HO4L 63/20; HO4W 12/08
USPC ....... 701/33; 370/338, 395.52; 709/223, 203,
709/225, 229, 217; 455/420

See application file for complete search history.

(56) References Cited

U.S. PATENT DOCUMENTS

4,672,572 A 6/1987 Alsberg
5,555,407 A 9/1996 Cloutier et al.
5,694,546 A 12/1997 Reisman
5,805,442 A 9/1998 Crater et al.
5,857,187 A 1/1999 Uenoyama et al.
5,892,825 A 4/1999 Mages et al.
5,915,093 A 6/1999 Berlin et al.
(Continued)
OTHER PUBLICATIONS

“Bluetooth Demystified”, Nathan J. Muller, 2000, chapter 8, pp.
290-304.*

Takahashi, D., “A New Medium—tThe Bridge Solution; CD-Roms
help give the illusion that the PC has No Limits . . .”” The Wall Street
Journal, Dow Jones & Co., Mar. 20, 1997.

Ladd, E., “The Document Tags,” Oct. 23, 2006, retrieved from the
Internet: <http://www.sunsite.serc.iisc.ernet.in/virlib/html/plati-
num/ch4.htm>.

(Continued)

Primary Examiner — Jungwon Chang
(74) Attorney, Agent, or Firm — Greer, Burns & Crain, Ltd.

(57) ABSTRACT

A transfer system from transferring a media file includes a
vehicle media system and a wireless mobile device. The
vehicle media system includes a wireless receiver, a security
measure, and a processor configured to wirelessly detect the
wireless mobile device, and receive, using the wireless
receiver, the media file from the wireless mobile device. The
wireless mobile device includes a wireless transmitter, and a
processor configured to wirelessly detect the vehicle media
system, and transmit, using the wireless receiver, the media
file from the wireless mobile device. At least one of the
wireless mobile device and vehicle media system is config-
ured to create a wireless connection between the vehicle
media system and the wireless mobile device, and the wire-
less connection does not include the security measure.

50 Claims, 4 Drawing Sheets
Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 3 of 13

US 9,300,723 B2
Page 2

(56) References Cited
U.S. PATENT DOCUMENTS

5,922,045 A 7/1999 Hanson

5,937,158 A 8/1999 Uranaka

5,996,000 A 11/1999 Shuster

6,101,534 A 8/2000 Rothschild

6,145,088 A 11/2000 Stevens

6,594,692 Bl 7/2003 Reisman

7,631,084 B2 12/2009 Thomas et al.

7,711,783 Bl 5/2010 Violleau et al.

6,101,534 Cl 6/2011 Rothschild
2004/0128375 Al 7/2004 Rockwell
2004/0133631 Al* 7/2004 Hagenetal. ow... 709/203
2005/0226254 Al* 10/2005 Vimpari ... 370/395.52
2007/0094366 Al* 4/2007 Ayoub woe 709/223
2008/0120369 Al 5/2008 Gustavsson
2008/0220760 AL* 9/2008 Ullah wwe 455/420
2009/0046677 Al* 2/2009 Toledano etal. .....0..... 370/338
2009/0150554 Al 6/2009 Rothschild
2010/0063670 Al* 3/2010 Brzezinski et al. 0.0.0... 701/33

2011/0202993 Al 8/2011 Rothschild

OTHER PUBLICATIONS

Creative Wonders/Electronic Arts. “ABC News Links—from CD-
ROM Access,” Aug. 17, 2007, retrieved from the Internet: <http://
www.cdaccess.com/html/pe/abcnews.htm>.

Krushenisky, C., “Reference Resources That Make the Best Reports
Even Better,’ Smart Computing, Aug. 17, 2007, retrieved from the
Internet: <http://www.smartcomputing.com>.

Iqbal, M.S., et al., “A Simplified and an Efficient Packet Level
Internet Access Control Scheme,” Ethertech Conslt. Ltd., UK, 1992.
Heylighen, F., “World Wide Web: a distributed hypermedia paradigm
for global networking,” SHARE Europe Spring Conference, pp. 355-
368, Brussels, Belgium, Apr. 1994.

Citrix Winview for Networks Installation Guide, Citrix Systems, Inc.,
1990. Version WV.2.3.emj.

Reisman, R.R., “Raising a Bumper Crop of CD-ROM Hybrids,”
Mass High Tech. Mass Tech Times, Inc., Boston, MA, Sep. 2, 1996,
vol. 14, No. 29, p. 17.

Britton, M, et al., “Discover Desktop Conferencing with Netmeeting
2.0,” IDG Books Worldwide, Inc., 1997.

* cited by examiner
Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 4 of 13

U.S. Patent Mar. 29, 2016 Sheet 1 of 4 US 9,300,723 B2

Pie _
a, 3
ry © >

a JM a 5 O

8 OT ea S

26

24

10

20

50
Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 5of13

U.S. Patent Mar. 29, 2016 Sheet 2 of 4 US 9,300,723 B2

FIGURE 2

[FFF =
40, 50

c&

yy

eo

Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 6 of 13

U.S. Patent Mar. 29, 2016 Sheet 3 of 4 US 9,300,723 B2

FIGURE 3

10

Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 7 of 13

U.S. Patent

100
—,

Mar. 29, 2016 Sheet 4 of 4

Media Node
Disposed Within
Wireless Range

y

Media Terminal
Detects
Media Node

v

Media Terminal
Initiates
Communication Link
With Media Node

N

Establish
Communication Link

y

Transmit Digital
Media File
Between
Media Node and
Media Terminal

US 9,300,723 B2

FIGURE 4
Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 8 of 13

US 9,300,723 B2

1
ENABLING SOCIAL INTERACTIVE
WIRELESS COMMUNICATIONS

CROSS-REFERENCE TO RELATED
APPLICATIONS

This application is a Continuation-in-Part of U.S. applica-
tion Ser. No. 11/999,570, filed on Dec. 7, 2007, which is
incorporated herein by reference in its entirety.

BACKGROUND

1. Field

The present disclosure is generally related to a digital
media communication protocol structured to facilitate trans-
ferring and/or transmitting one or more digital media files to
and/or from a media terminal and a media node via at least
one interactive computer network.

2. Description of the Related Art

As technology continues to develop and play a significant
role in today’s society, a vast majority of portable devices,
including mobile telephones, cellular telephones, portable
MP3 players, handheld or portable game consoles, Personal
Digital Assistants (“PDA”), etc. are equipped with memory
devices, such as hard drives and/or removable flash or
memory cards, which are capable of holding or storing large
amounts of data and or digital media files including digital
photographs, videos, audio/music files, etc. Accordingly,
with the advent of such devices having these capabilities,
individuals or users are more inclined to carry around their
media files, such as, for example, digital photo albums, family
videos, and/or favorite music tracks.

The drawback to the above noted portable media devices,
however, is that many of the devices include relatively small
display screens, some of which display poor quality photos
and/or videos. In addition, the speakers associated with the
corresponding portable device(s) are typically rather small
and produce minimal or poor sound therefrom.

In addition, the individuals or users of the media devices
may desire to share the digital media files and/or transfer,
display, or play the files on a computer or other media device
equipped with a larger or better quality screen, or having
higher quality speakers than that disposed on the portable
device(s). In addition, some media devices may have better
editing software, or have access to the World Wide Web to
further distribute the digital media files.

Accordingly, it would be advantageous if the digital media
communication protocol of the present specification is struc-
tured to facilitate transferring or transmitting one or more
digital media files between two or more media devices, such
as a media terminal and/or a media node, via at least one
interactive computer network. In particular, it would be ben-
eficial if the digital media communication protocol includes a
communication link structured to bypass at least one or more
security measures, such as a password and/or firewall,
employed by the interactive computer network, the corre-
sponding networking devices, and/or the particular media
devices themselves.

In addition, once the communication link is established it
would be particularly beneficial if the various media devices,
including the media terminal(s) and/or media node(s), are

10

15

20

25

30

35

40

45

50

55

60

65

2

structured to display, save, edit, manipulate, and/or transfer
the one or more digital media files.

BRIEF DESCRIPTION OF THE SEVERAL
VIEWS OF THE DRAWINGS

For a more complete understanding of the nature of the
present disclosure, reference should be had to the following
detailed description taken in connection with the accompa-
nying drawings in which:

FIG. 1 is a schematic representation of one embodiment of
the digital media communication protocol in accordance with
the present specification.

FIG. 2 is a schematic representation of another embodi-
ment of the digital media communication protocol in accor-
dance with the present specification.

FIG. 3 is a schematic representation of yet another embodi-
ment of the digital media communication protocol in accor-
dance with the present specification.

FIG. 4 is a partial flow chart of at least one illustrative
implementation of the digital media communication protocol
of the present specification. FIG. 1 is a schematic represen-
tation of at least one embodiment of the system for enabling
social interactive wireless communication as disclosed in
accordance with the present disclosure.

Like reference numerals refer to like parts throughout the
several views of the drawings.

DETAILED DESCRIPTION

As shown in the accompanying drawings, the present
specification relates to a digital media communication proto-
col, generally indicated as 10. As illustrated in FIGS. 1
through 3, at least one embodiment of the present protocol or
system 10 includes one or more media terminals 20 and one or
more media nodes 390. In particular, the media terminal(s) 20
of at least one embodiment is disposed in an accessible rela-
tion to at least one interactive computer network 40 and may
include, for example, a computer processing device 22, an
input device 24, and a display device 26. Accordingly, as
shown in FIG. 1, the media terminal(s) 20 of the various
embodiments described herein may include a computer, how-
ever, any device structured to facilitate the practice of the
present system in the intended fashion may be utilized,
including but in no way limited to a desktop computer, laptop
or notebook computer, PDA, video game console, mobile
telephone, media system of a vehicle (e.g., an automobile),
etc.

The media node(s) 30 of at least one embodiment of the
present system 10 generally includes a portable device such
as a cellular or mobile telephone, PDA, portable mp3 player,
laptop or notebook computer, or any other digital media
device structured to facilitate the practice of the present sys-
tem in the intended manner. In at least one embodiment,
however, the media node 30 is not limited to a portable device,
and may include a more stationary device or structure such as,
for example, a desktop computer.

Furthermore, the various embodiments of the present
specification include at least one interactive computer net-
work 40, 40'. In particular, as illustrated in FIG. 1, at least one
embodiment includes one or more home, office, private, lim-
ited, or closed interactive computer networks 40 at least par-
tially defined by one or more networking devices 42, includ-
ing but not limited to a router, access point, and/or switch.
Accordingly, the interactive computer network 40 may
include a Local Area Network (“LAN”), Wide Area Network
(“WAN”), Private Area Network (“PAN”), peer-to-peer net-
Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 9of13

US 9,300,723 B2

3

work, near field communication (“NFC”), Bluetooth net-
work, etc. As best shown in FIGS. 2 and 3, it is also contem-
plated that, especially wherein the interactive computer
network 40 is a Bluetooth or peer-to-peer network, the media
terminal(s) 20 and/or the media node(s) 30 can function as the
networking device(s) 42, at least to the extent of defining the
interactive computer network 40. Additionally, and referring
again to FIG. 1, at least one interactive computer network 40'
of at least one embodiment includes access to the World Wide
Web, for example via the Internet. Such access to the World
Wide Web 40' may be facilitated in any manner, including but
not limited to, via a cable or DSL modem 44, as shown in FIG.
1, or via one or more satellites 46 and/or one or more towers
or base stations 48, as illustrated in FIG. 2.

In addition, and still referring to FIGS. 1 through 3, at least
one embodiment of the present system 10 includes a wireless
range 50 structured to permit access to the one or more inter-
active computer networks 40. In particular, as shown in FIG.
1, the wireless range 50 may be at least partially defined by
networking devices 42, such as a wireless router, access point,
switch, etc. In yet another embodiment, as shown in FIGS. 2
and 3, however, the wireless range 50 may be partially defined
by the media terminal 20 and/or media node 30, such as, for
example, wherein the interactive computer network 40
includes a Bluetooth or peer-to-peer network.

In addition, and as an attempt to minimize or eliminate
unauthorized access or security breaches to the interactive
computer network 40, the interactive computer network 40
and/or the various networking device(s) 42 may include one
or more networking device security measures 41 including a
firewall, and/or passwords/keys such as, for example, Wi-Fi
Protected Access (“WPA”) keys, and/or Wireless Application
Protocol (“WAP”) keys. Accordingly, only authorized indi-
viduals or computers may generally have access to the inter-
active computer network 40 through the firewall, via use of
the password(s)/key(s), and/or any other networking device
security measure(s) 41.

The present system 10 further includes at least one digital
media file 60 initially disposed or saved on at least one of the
media terminal(s) 20 or media node(s) 30. Specifically,
the digital media file(s) 60 may be disposed on the media
terminal(s) 20, the media node(s) 30, or both. However, it
should be apparent that for purposes of the present system 10,
the digital media file 60 need not necessarily be created or
originated on either the media terminal(s) 20 or the media
node(s) 30. In particular, the digital media file(s) 60 may
include virtually any electronic file or data such as a digital
photograph, video, audio, animation, text, or any other elec-
tronic document or object.

Moreover, in at least one embodiment of the present system
10, the media node(s) 30 is disposable within the wireless
range 50, wherein the media node 30 is detectable by the
media terminal 20. In particular, as stated above, in at least
one embodiment, the media node 30 includes a portable
device, such as a mobile or cellular phone, PDA, laptop, etc.
Accordingly, the media node 30 may be disposed within, i.e.,
enter, the confines of the wireless range 50, for example,
when a user or individual carries the media node 30 therein. In
addition, for purposes of the present system 10, the media
node 30 may be disposed within the wireless range 50 when
the device is powered on, activated, or otherwise configured
into a discoverable and/or detectable state while simulta-
neously being physically disposed within the confines of the
wireless range 50, and as such, the media node 30 need not
necessarily be portable or easily movable. For instance, while
physically disposed within the confines of the wireless range

15

20

25

40

45

50

60

65

4

50, the media node(s) 30 may be powered on or otherwise
have wireless or Bluetooth capabilities activated.

Furthermore, the media terminal(s) 20 disposed in acces-
sible relation to the interactive computer network 40 are
structured to detect the media node(s) 30 as the media node(s)
30 is disposed within the confines of or is otherwise detect-
able within the wireless range 50. Particularly, in at least one
embodiment, each media node 30 includes a node identifier
structured to distinguish one media node 30 within the wire-
less range 50 from another. For example, the node identifier
may include a device name, model/serial number, Media
Access Control (“MAC”) address, or Internet Protocol (“IP”)
address. Accordingly, as the media node 30 enters or is oth-
erwise disposed within the wireless range 50, the media ter-
minal 20 is structured to detect and/or identify the media node
30, for example, by the corresponding node identifier.

In addition, at least one embodiment of the present system
10 includes a terminal program disposed in an accessible
relation to the media terminal 20. In particular, the terminal
program of at least one embodiment is a computer software
program structured to facilitate the practice of the present
system 10 in the intended fashion, at least from the media
terminal 20 side of the system 10. The terminal program, of at
least one embodiment, may be disposed on the media termi-
nal 20, suchas, for example, ona hard drive, or other memory
device associated with the media terminal 20. In yet another
embodiment, however, the terminal program may be acces-
sible via the at least one interactive network 40, 40', such as,
for example, via the World Wide Web. For example, in the
embodiment wherein the terminal program is accessible via
the World Wide Web, a user may direct a web browser dis-
posed in the media terminal 20 to a particular web site, which
then runs or executes the terminal program and/or downloads
the terminal program to the media terminal 20.

Either way, the terminal program may include at least one
script which is structured to consistently or periodically
monitor the wireless range 50 associated with the interactive
computer network 40 for the existence of media nodes 30.
When a media node 30 is disposed within the wireless range
50, the terminal program may be structured or configured to
automatically alert a user at the media terminal 20 of the
existence or detection of the media node 20. In particular, the
terminal program may deploy a pop-up display, play an audio
alarm or tone, etc. On the other hand, the terminal program
may be structured or configured to alert or notify the user of
any detected media nodes 30 only upon the user’s specific
instructions. For example, the media terminal 20, and in par-
ticular the terminal program thereof, may be structured to list
or display the media nodes 30 currently disposed within the
wireless range 50 upon the user clicking on or otherwise
manipulating a corresponding option of the terminal pro-
gram.

At least one embodiment of the present system 10 further
includes a communication link 70 structured to dispose the
media terminal(s) 20 and the media node(s) 30 in a commu-
nicative relation with one another via the interactive computer
network 40. In particular, the communication link 70 of the
various embodiments of the present system 10 is created
and/or requested by the media terminal 20. As stated above,
the media terminal 20 is structured to detect the media node(s)
30 disposed within the wireless range 50. As also stated
above, the media node 30 may, but need not, however, be
configured to have access to the interactive computer network
40. For example, the interactive computer network 40 and/or
the corresponding networking device(s) 42 may be equipped
with one or more security measures 41, including a WEP key
or other password. The media node 30 may, but need not have
Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 10 of 13

US 9,300,723 B2

5

access to the WEP key or other security measure 41 so as to
access the corresponding interactive computer network 40.
Even so, the media terminal 20 is structured to create and/or
initiate a communication link 70 with the one or more
detected media nodes 30 disposed within the wireless range
50, for example, by sending and/or transmitting a request to
the corresponding media node(s) 30 to establish a communi-
cation link 70 therewith via the interactive computer network
40. As illustrated in FIG. 1, the media terminal 20 need not be
disposed within the wireless range 50 in order to detect the
media nodes 30 or to create and/or initiate a communication
link 70 therewith. In at least one embodiment of the present
system 10, the media terminal 20 does, however, need to be
disposed in an accessible relation with the interactive com-
puter network 40, for example, wirelessly or via a direct cable
43.

More in particular, the communication link 70 of at least
one embodiment of the present specification is structured to
bypass one or more media terminal security measures 21,
media node security measures 31, and/or networking device
security measures 41. Moreover, the security measures 21,
31, 41 may includes passwords, keys, firewalls, etc. struc-
tured to minimize or eliminate unauthorized access to the
corresponding media terminal 20, media node 30, networking
device(s) 42, and/or interactive computer network 40, 40'.
Referring again to FIG. 1, in the embodiment wherein the
interactive computer network 40 and the wireless range 50 are
at least partially defined by networking device(s) 42, such as
a router, access point, or switch, once established, the com-
munication link 70 is structured to be disposed between the
media terminal 20 and the media node 30, and through the
corresponding networking device(s) 42. Particularly, in at
least one implementation of the present system 10, because
the media terminal 20 is disposed in an accessible relation to
the interactive computer network 40, and because the com-
munication link 70 is created and/or initiated by the media
terminal 20, the communication link 70 can be established
regardless of whether the corresponding media node 30 inde-
pendently has access to the interactive computer network 40.
In addition, the initiation of the communication link 70 by the
media terminal 20, such as through a request to establish a
communication link 70, at least partially allows the commu-
nication link 70 to bypass the firewall or other media terminal
security measure(s) 21.

Moreover, the media terminal 20 of at least one embodi-
ment of the present system 10 may be structured or configured
to automatically create and/or initiate a communication link
70 with the detected media nodes 30. However, more practi-
cally, a user in control of the media terminal 20 may direct the
media terminal 20 to create and/or initiate the communication
link 70 with one or more selected media node(s) 30, for
example, via the terminal program. Similarly, the media node
30 may be structured or configured to automatically accept or
decline creation of the communication link 70 initiated by the
media terminal 20. However, in at least one embodiment of
the present system 10, the media node(s) 30 may be structured
or configured for a user in control of the media node 30 to
selectively accept or decline the creation or establishment of
a communication link 70 initiated by the corresponding
media terminal 20. As such, in at least one embodiment, the
media node 30 includes one or more node programs struc-
tured to facilitate the practice of the present system 10 in the
intended fashion, at least from the media node 30 side of the
system 10.

Once the communication link 70 is initiated, accepted,
and/or ultimately established between the media terminal 20
and the media node 30, the digital media file(s) 60 may be

20

25

40

45

60

65

6

selectively transmitted therebetween. In particular, ifthe digi-
tal media file 60 is initially disposed on the media node 30, the
media node 30 and the media terminal 20 may cooperatively
communicate via the communication link 70 such that the
digital media file 60 may be transmitted from the media node
30 to the media terminal 20. In addition, the converse is also
true. Particularly, if the digital media file 60 is disposed on the
media terminal 20, the media node 30 and the media terminal
20 may cooperatively communicate via the communication
link 70 such that the digital media file 60 may be transmitted
from the media terminal 20 to the media node 30. Further-
more, in at least one embodiment of the present system 10, the
device on which the digital media file 60 is initially disposed,
such as the media node 30 or the media terminal 20, is struc-
tured to “push” the digital media file 60 to the receiving
device 20, 30 via the communication link 70. Similarly, in at
least one embodiment, once the communication link 70 is
established, the receiving device 20, 30 is structured to “pull”
the digital media file 60 from the transmitting device 30, 20
via the communication link 70.

For illustrative purposes only, the communication link 70,
the terminal program, and/or the node program may be struc-
tured to include a selective set of parameters which define or
limit the permissions associated with the communication link
70. In particular, in at least one embodiment, the selective set
of parameters may include the option of transmitting the
digital media file 60 via the communication link 70 merely for
purposes of displaying and/or playing the digital media file
60, saving the digital media file 60, manipulating or otherwise
editing the digital media file 60, etc. In the various embodi-
ments of the present system 10, it is contemplated that these
parameters may be selected from either the media terminal 20
or the media node 30, at various times. For instance, the
parameters may be selected by the media terminal 20, or a
user in control thereof, when the communication link 70 is
created and/or initiated, or by either the media terminal 20 or
the media node 30 when the communication link 70 is
accepted or created.

Furthermore, it is contemplated that the protocol 10 of the
present system includes a plurality of versions of the terminal
program and/or the node program, stated and described
above. For instance, at least one embodiment includes at least
one limited version of the terminal and/or node programs and
at least one full version of the programs. It is contemplated
that the limited versions of the terminal and/or node programs
are distributed at no cost or at least a lower cost than the
corresponding full versions, and as such, provide limited
functionality. Of course, the terminal and/or node programs,
whether the limited and/or full versions, may come pre-in-
stalled with the corresponding media terminal 20 or media
node 30.

Moreover, for illustrative purposes only, FIG. 4 shows one
implementation of the system 10 in accordance with the
present specification, generally indicated as 100. In particu-
lar, and as above, in at least one embodiment, the media node
30 may include a portable device, such as for example, a
mobile phone, a cellular telephone, PDA, or mobile com-
puter. For purposes of the illustrative implementation of FIG.
4, the interactive computer network 40 includes a wireless
range 50 located in one or more offices or rooms, wherein the
media terminal 20 is also disposed within one of the offices or
rooms in accessible relation to the interactive computer net-
work 40.

Furthermore, the digital media file 60 of the present illus-
trative implementation of FIG. 4 may be disposed on the
media node 30, whereas the user in control of the media node
30 desires to display the digital media file 60 on the display
Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 11 of 13

US 9,300,723 B2

7

device 26 of the media terminal 20. For example, a user of a
wireless mobile device (i.e., an example of a media node 30)
can use the wireless mobile device to control the display of a
digital media file 60 on a display (1.e., an example of display
device 26) of a vehicle media system (1.e., an example of a
media terminal 20) within an automobile. The vehicle media
system may be part of a vehicle navigation system. Alterna-
tively, the vehicle media system may include one or more
displays within the vehicle that are separate from the vehicle
navigation system. In another aspect, the vehicle media sys-
tem includes an audio system (e.g., the radio) of the vehicle.

As shown in FIG. 4, the media node 30 may be disposed
within the wireless range 102. For example, the user in con-
trol of, and/or having possession of, the media node 30 may
walk into the office which is disposed within the wireless
range 50. As stated above, once the media node 30 is disposed
within the wireless range 50, as shown at 104, the media
terminal 20 is structured to detect the media node 20. The
media terminal 20 may then create and/or initiate a commu-
nication link 70 between the media terminal 20 and the media
node 30 via the interactive computer network 40, as shown at
106, for instance, by sending a request thereto. The media
node 30 may then accept the request by the media terminal 20,
which establishes the communication link 70, as illustrated at
108 in FIG. 4. Once the communication link 70 is established,
the digital media file 60 may be transmitted, 1.e., “pushed” or
“pulled”, between the media node 30 and the media terminal
20, as shown at 110.

More in particular, because the digital media file 60, for
purposes of the illustrative implementation shown in FIG. 4,
is initially disposed on the media node 30, the digital media
file 60 may be transmitted, i.e., “pushed” or “pulled”, to the
media terminal 20 from the media node 30 via the commu-
nication link 70. In particular, the media terminal 20 may
display the digital media file 60, save the digital media file 60,
and/or manipulate or edit the digital media file 60. In addition,
the media terminal 20, in at least one embodiment, may be
structured to transmit the digital media file 60 and/or the
edited media file back to the media node 30 via the commu-
nication link 70.

What is claimed is:

1. A media system, comprising:

at least one media terminal disposed in an accessible rela-

tion to at least one interactive computer network,

a wireless range structured to permit authorized access to

said at least one interactive computer network,

at least one media node disposable within said wireless

range, wherein said at least one media node is detectable
by said at least one media terminal,

at least one digital media file initially disposed on at least

one of said at least one media terminal or said at least one
media node, said at least one media terminal being struc-
tured to detect said at least one media node disposed
within said wireless range,

acommunication link structured to dispose said at least one

media terminal and said at least one media node in a
communicative relation with one another via said at least
one interactive computer network,

said communication link being initiated by said at least one

media terminal,

said at least one media node and said at least one media

terminal being structured to transmit said at least one
digital media file therebetween via said communication
link, and

said communication link is structured to bypass at least one

media terminal security measure for a limited permis-
sible use of the communication link by the media node to

10

15

20

25

30

35

40

45

50

55

60

65

8

only transferring the at least one digital media file to, and
displaying the at least one digital media file on, the at
least one media terminal.

2. The method of claim 1, wherein the security measure is
a firewall.

3. The method of claim 1, wherein the transmission of the
media file from the at least one media node to the at least one
media terminal completely bypasses the security measure.

4. The method of claim 1, wherein the at least one media
terminal is a navigation system.

5. The method of claim 1, wherein the at least one media
terminal is an audio system.

6. The system of claim 1, wherein the communication link
is at least one of a peer-to-peer connection, bluetooth connec-
tion, and a WiFi connection.

7. The system of claim 1 wherein the at least one digital
media file is at least one of an image file, video file, gaming
file, and a streaming video file.

8. The system of claim 1, further comprising presenting the
at least one digital media file on a display.

9. The system of claim 1, wherein the at least one digital
media file is provided by the at least one media node.

10. The system of claim 1, wherein the at least one digital
media file is received from a server upon instructions pro-
vided by the at least one media node.

11. The system of claim 1, wherein the at least one digital
media file is received from a server upon instructions pro-
vided by the wireless mobile device.

12. A media system configured to receive a media file from
a wireless mobile device over communication network, com-
prising:

a wireless receiver;

a security measure; and

the media system disposed in an accessible relation to at
least one interactive computer network that has a wire-
less range structured to permit authorized access to said
at least one interactive computer network,

the wireless mobile device within said wireless range,
wherein said wireless mobile device is detectable by said
media system,

at least one digital media file initially disposed on the
wireless mobile device, said media system being struc-
tured to detect said wireless mobile device disposed
within said wireless range,

a communication link structured to dispose said media
system and said wireless mobile device in a communi-
cative relation with one another via said at least one
interactive computer network,

said communication link being initiated by said media
system,

said wireless mobile device and media system being struc-
tured to transmit said at least one digital media file
therebetween via said communication link, and

said communication link is structured to bypass the secu-
rity measure of the media system for a limited permis-
sible use of the communication link by the wireless
mobile device for only transferring the at least one digi-
tal media file to, and displaying the at least one digital
media file on, the media system.

13. The media system of claim 12, wherein the security

measure is a firewall.

14. The media system of claim 12, wherein the transmis-
sion of the at least one digital media file from the wireless
mobile device to the media system completely bypasses the
security measure.

15. The media system of claim 12, wherein the media
system is a navigation system.
Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 12 of 13

US 9,300,723 B2

9

16. The media system of claim 12, wherein the media
system is an audio system.

17. The media system of claim 12, wherein the communi-
cation link is at least one of a peer-to-peer connection, blue-
tooth connection, and a WiFi connection.

18. The media system of claim 12 wherein the at least one
digital media file is at least one of an image file, video file,
gaming file, and a streaming video file.

19. The media system of claim 12, wherein the further
media system is configured to present the at least one digital
media file on a display.

20. The media system of claim 12, wherein the at least one
media file is provided by the wireless mobile device.

21. The media system of claim 12, wherein the at least one
digital media file is received from a server upon instructions
provided by the wireless mobile device.

22. A method of transferring a media file from a wireless
mobile device to a media system over a communication net-
work, the media system including a security measure, com-
prising:

disposing the media system in an accessible relation to at

least one interactive computer network that has a wire-
less range structured to permit authorized access to said
at least one interactive computer network, wherein the
wireless mobile device within said wireless range,
wherein said wireless mobile device is detectable by said
media system,

initially disposing at least one digital media file on the

wireless mobile device, said media system being struc-
tured to detect said wireless mobile device disposed
within said wireless range,

structuring a communication link to dispose said media

system and said wireless mobile device in a communi-
cative relation with one another via said at least one
interactive computer network,

initiating said communication link by said media system,

transmitting by said wireless mobile device to the media

system said at least one digital media file therebetween
via said communication link, and

wherein said communication link is structured to bypass

the security measure of the media system for a limited
permissible use of the communication link by the wire-
less mobile device for only transferring the at least one
digital media file to, and displaying the at least one
digital media file on, the media system.

23. The method of claim 22, wherein the security measure
is a firewall.

24. The method of claim 22, wherein the transmission of
the at least one digital media file from the wireless mobile
device to the media system completely bypasses the security
measure.

25. The method of claim 22, wherein the media system is a
navigation system.

26. The method of claim 22, wherein the media system is
an audio system.

27. The method of claim 22, wherein the communication
link is at least one of a peer-to-peer connection, bluetooth
connection, and a WiFi connection.

28. The method of claim 22, wherein the at least one digital
media file is at least one of an image file, video file, gaming
file, and a streaming video file.

29. The method of claim 22, further comprising presenting
the at least one digital media file on a display.

30. The method of claim 22, wherein the at least one digital
media file is provided by the wireless mobile device.

20

25

35

40

45

50

55

60

65

10

31. The method of claim 22, wherein the at least one digital
media file is received from a server upon instructions pro-
vided by the wireless mobile device.

32. A wireless mobile device configured to transmit a
media file to a media system over a communication network
having a security measure comprising:

the media system disposed in an accessible relation to at
least one interactive computer network that has a wire-
less range structured to permit authorized access to said
at least one interactive computer network,

the wireless mobile device within said wireless range,
wherein said wireless mobile device is detectable by said
media system,

at least one digital media file initially disposed on the
wireless mobile device, said media system being struc-
tured to detect said wireless mobile device disposed
within said wireless range,

a communication link structured to dispose said media
system and said wireless mobile device in a communi-
cative relation with one another via said at least one
interactive computer network,

said communication link being initiated by said media
system,

said wireless mobile device and media system being struc-
tured to transmit said at least one digital media file
therebetween via said communication link, and

said communication link is structured to bypass the secu-
rity measure of the media system for a limited permis-
sible use of the communication link by the wireless
mobile device for only transferring the at least one digi-
tal media file to, and displaying the at least one digital
media file on, the media system.

33. The wireless mobile device of claim 32, wherein the

security measure is a firewall.

34. The wireless mobile device of claim 32, wherein the
transmission of the at least one digital media file from the
wireless mobile device to the media system completely
bypasses the security measure.

35. The wireless mobile device of claim 32, wherein the
media system is a navigation system.

36. The wireless mobile device of claim 32, wherein the
media system is an audio system.

37. The device of claim 32, wherein the communication
link is at least one of a peer-to-peer connection, bluetooth
connection, and a WiFi connection.

38. The device of claim 32 wherein the at least one digital
media file is at least one of an image file, video file, gaming
file, and a streaming video file.

39. The device of claim 32, wherein the device is config-
ured to present the at least one digital-media file on a display.

40. The device of claim 32, wherein the at least one digital
media file is provided by the wireless mobile device.

41. The device of claim 32, wherein the at least one digital
media file is received from a server upon instructions pro-
vided by the wireless mobile device.

42. A transfer system from transferring a media file over a
communication network, comprising a media system; and a
wireless mobile device, wherein the media system includes:

a wireless receiver,

a security measure, and

a processor configured to

the media system disposed in an accessible relation to at
least one interactive computer network that has a wire-
less range structured to permit authorized access to said
at least one interactive computer network,
Case 6:21-cv-00240-ADA Document 1-1 Filed 03/10/21 Page 13 of 13

US 9,300,723 B2

11

the wireless mobile device within said wireless range,
wherein said wireless mobile device is detectable by said
media system,

at least one digital media file initially disposed on the
wireless mobile device, said media system being struc-
tured to detect said wireless mobile device disposed
within said wireless range,

a communication link structured to dispose said media
system and said wireless mobile device in a communi-
cative relation with one another via said at least one
interactive computer network,

said communication link being initiated by said media
system,

said wireless mobile device and media system being struc-
tured to transmit said at least one digital media file
therebetween via said communication link, and

said communication link is structured to bypass the secu-
rity measure of the media system for a limited permis-
sible use of the communication link by the wireless
mobile device for only transferring the at least one digi-
tal media file to, and displaying the at least one digital
media file on, the media system.

5

10

15

20

12

43. The transfer system of claim 42, wherein the security
measure is a firewall.

44. The transfer system of claim 42, wherein the transmis-
sion of the at least one digital media file from the wireless
mobile device to the media system completely bypasses the
security measure.

45. The transfer system of claim 42, wherein the media
system is a navigation system.

46. The transfer system of claim 42, wherein the media
system is an audio system.

47. The system of claim 42, wherein the communication
link is at least one of a peer-to-peer connection, bluetooth
connection, and a WiFi connection.

48. The system of claim 42 wherein the at least one digital
media file is at least one of an image file, video file, gaming
file, and a streaming video file.

49. The system of claim 42, wherein the system is config-
ured to present the at least one digital media file on a display.

50. The system of claim 42, wherein the at least one digital
media file is provided by the wireless mobile device.

* * * * *
